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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA                                                                      MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                                   SECTION “N-5"

                                                                       JUDGE ENGELHARDT

                                                                       MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Deborah Smith, et al v Frontier RV, Inc, et al,
Case No. 2:10-cv-1355
_____________________________________________________________________________

       NOTICE TO COURT OF PLAINTIFFS WHO REMAIN UNMATCHED
                            (PRETRIAL ORDER 40)
______________________________________________________________________________

       In compliance with Pretrial Order 40, Plaintiffs’ counsel hereby notifies the Court of the

plaintiffs who remain unmatched with a specific Contractor Defendant and the civil action

number of the original complaint in which they were named:

              CLAIMANTS                                     COURT CASE NUMBER
              Deborah Smith                                 2:10-cv-1355
              Lorraine Meyers by Deborah Smith              2:10-cv-1355

       Respectfully submitted, this the 17th day of June, 2010.



                                                    By:             s / Rose M. Hurder
                                                                    Rose M. Hurder
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 17, 2010 I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to all counsel of record who are non-

CM/ECF participants.



                                                                      s / Rose M. Hurder
                                                                      ROSE M. HURDER
